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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT
MARIO CERAME                             :

       Plaintiff, pro se                      :

v.                                            :

Edward “Ned” Lamont, Jr.,                     :          3:21-cv-01508 (JCH)
Governor of the State of Connecticut; and
                                              :
Richard J. Colangelo, Jr.,
Chief State’s Attorney of Connecticut         :

       Defendants                             :
       In their official capacities only                 JULY 18, 2022

               REQUEST FOR LEAVE TO RESPOND TO
 DEFENDANTS’ OBJECTION CONCERNING ORDER FOR CERTIFIED QUESTION

       The Defendants filed an objection; entry 38; to this Court’s order certifying a

question to the Connecticut Supreme Court; entry 37. I request leave to file an

opposition to the objection, a response supporting the order to certify. Such a response

will be limited to 2,500 words and three issues. First, certification is consonant with

Second Circuit and state precedent. Second, certification may preserve scarce judicial

resources. Third, the State’s argument amplifies my rational fear of arbitrary

enforcement and basis for standing. Accordingly, the Court should overrule the

objection.

       I request leave to respond because I am not sure as a matter of procedure

whether I can respond as of right in this context.

       The Court should grant leave. Although the Court of course needs no support

from someone like me, leave should be granted as my few arguments may help

preserve issues should appellate review occur. The State fails to address Second
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Circuit precedent concerning the scope of discretion in certifying questions, or any

analysis of judicial resources. In addition, the State’s arguments undermine its position.

Therefore leave should be granted.



   JULY 18, 2022                         Respectfully submitted,

                                         THE PLAINTIFF, pro se

                                         /s/ Mario Cerame ct30125
                                         Mario Cerame, pro se

                                         Brignole, Bush & Lewis LLC
                                         73 Wadsworth Street
                                         Hartford, Connecticut 06106
                                         T: 860.527.9973
                                         F: 860.527.5929
                                         E: mario@brignole.com
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                                      CERTIFICATION

I hereby certify that a copy of the foregoing has been or shall immediately be filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice
of Electronic Filing. Parties may access this filing through the Court’s CM/ECF system.

                                            /s/ Mario Cerame ct30125
                                            Mario Cerame, pro se
